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                                      UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
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                                           SAN FRANCISCO DIVISION
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     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
21                                                              SHARP’S ADMINISTRATIVE
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE UNDER SEAL
     Case No. C 13-1173 (SC)                                    RELATED TO SHARP’S
22
                                                                OPPOSITION TO THOMSON S.A.’s
23                                                              MOTION TO DISMISS SHARP’S
                                                                FIRST AMENDED COMPLAINT
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             [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                             Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
              Case 3:07-cv-05944-JST Document 2309 Filed 01/08/14 Page 2 of 2



 1                 Upon consideration of Sharp’s Administrative Motion to File Under Seal portions of its

 2   Opposition to Thomson S.A.’s Motion to Dismiss Sharp’s First Amended Complaint, it is hereby:

 3                 ORDERED that the Administrative Motion is hereby GRANTED; and it is further

 4                 ORDERED that the Clerk shall file and maintain under seal Sharp’s Opposition to

 5   Thomson S.A.’s Motion to Dismiss Sharp’s First Amended Complaint and Exhibits thereto as identified

 6   below.

 7
                                Portions of Sharp’s Opposition to Motion
 8                                 to Dismiss to be Sealed (Page:Line)
                    2:10-22
 9
                    5:10-24, 5:28
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                    6:6-11, 6:15-19, 6:21-24
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                    9:4-6, 9:15-20, 9:23-28
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                    10:8-9
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                    12:23-24
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                    13:1-9
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                    21:21-23
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     IT IS SO ORDERED.
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               DATED: January 8, 2014                     _________________________________
22
                                                               HON. SAMUEL CONTI
23                                                        UNITED STATES DISTRICT JUDGE
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              [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                              Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
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